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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS


 UNITED STATES OF AMERICA and
 COMMONWEALTH OF
 MASSACHUSETTS ex rel. JULIO
 ESCOBAR and CARMEN CORREA
                                                               C.A. No. 11-CV-11170-DPW
        Relators–Plaintiffs,

 v.

 UNIVERSAL HEALTH SERVICES, INC.,
 UHS OF DELAWARE, INC., and HRI
 CLINICS, INC.

        Defendants.


                           JOINT STIPULATION OF DISMISSAL

       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the qui tam

provisions of the federal False Claims Act, 31 U.S.C. § 3730(b)(1) and the Massachusetts False

Claims Act, M.G.L. c. 12, § 5C(2), and in accordance with the terms and conditions of the July

1, 2020 Settlement Agreement between the Commonwealth of Massachusetts, the United States

of America, Relators Julio Escobar and Carmen Correa (collectively, the “Relators”), and

Defendants Universal Health Services (“Universal”), UHS of Delaware, Inc. (“UHS-DE”), and

HRI Clinics, Inc. (“HRI”) d/b/a Arbour Counseling Services (“Arbour”), the parties to the above-

captioned action hereby stipulate to the entry of an order dismissing with prejudice all civil

claims asserted by or on behalf of the United States of America, the Commonwealth of

Massachusetts and/or the Relators against Defendants for the Covered Conduct as defined in

Recital Paragraph E of the Settlement Agreement, including Relators’ claims concerning the

payment of attorneys’ fees, costs and expenses pursuant to 31 U.S.C. § 3730(d)(1) and (d)(2) and
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M.G.L. c. 12, § 5F. The parties to the associated cases, United States et al. ex rel. Correa et al.

v. Universal Health Services, Inc. et al., 17-cv-11843-DPW (“Correa”), and HRI Clinics, Inc. v.

Sudders, et al., 18-cv-11890-DPW (“Sudders”), will likewise be filing stipulations of dismissal

soon.



                                                      Respectfully submitted,

                                                      COMMONWEALTH OF
                                                      MASSACHUSETTS

                                                      By its attorney,

                                                      MAURA HEALEY
                                                      Attorney General

Dated: July 21, 2020                                  /s/ Philip Schreiber
                                                      Philip Schreiber (BBO # 667288)
                                                      Assistant Attorney General
                                                      Medicaid Fraud Division
                                                      One Ashburton Place, 18th Floor
                                                      Boston, MA 02108
                                                      (617) 963-2167
                                                      philip.schreiber@mass.gov


                                                      UNITED STATES OF AMERICA

                                                      By its attorney,

                                                      ANDREW E. LELLING
                                                      United States Attorney


Dated: July 21, 2020                                  /s/ Jessica J. Weber
                                                      JESSICA J. WEBER
                                                      Assistant United States Attorney
                                                      United States Attorney’s Office
                                                      One Courthouse Way, Suite 9200
                                                      Boston, MA 02210
                                                      (617) 748-3303
                                                      jessica.j.weber@usdoj.gov

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                                         UNIVERSAL HEALTH SERVICES, INC.,
                                         UHS OF DELAWARE, INC., AND HRI
                                         CLINICS, INC.

                                         By their attorneys,

Dated: July 21, 2020                     /s/ Katrina C. Rogachevsky
                                         Mark W. Pearlstein (BBO #542064)
                                         Laura McLane (BBO # 644573)
                                         Katrina C. Rogachevsky (BBO #691373)
                                         MCDERMOTT WILL & EMERY LLP
                                         200 Clarendon Street, Floor 58
                                         Boston, Massachusetts 02116
                                         Tel: (617) 535-4000
                                         Fax: (617) 535-3800
                                         mpearlstein@mwe.com
                                         lmclane@mwe.com
                                         krogachevsky@mwe.com


                                         JULIO ESCOBAR &
                                         CARMEN CORREA

                                         By their attorneys,

Dated: July 21, 2020                     /s/ Thomas M. Greene
                                         Thomas M. Greene (BBO #210020)
                                         tgreene@greenellp.com
                                         Michael Tabb (BBO #491310)
                                         matabb@greenellp.com
                                         Greene LLP
                                         One Liberty Square, Suite 1200
                                         Boston, MA 02109
                                         (617) 261-0040




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                                 CERTIFICATE OF SERVICE

       I certify that, on July 21, 2020, this document (filed through the ECF system) will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)

and paper copies will be sent to those indicated as non-registered participants.



                                                             /s/ Katrina C. Rogachevsky
                                                             Katrina C. Rogachevsky




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